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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov

In re:                                                             Chapter 11

SHIFTPIXY, INC. et, al. 1                                          Case No. 24-21209-LMI

      Debtors.                                                     (Jointly Administered)
_______________________________/

                   MOTION TO AMEND ORDER GRANTING EMERGENCY
                         MOTION FOR PREPETITION WAGES

         The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”), file

this Motion pursuant to 11 U.S.C. §105(a) and Fed. R. Bankr. P. 9024 to amend the Order Granting

Emergency Motion For Pre-Petition Wages Salaries and Employee Benefits [ECF No. 39] to

permit the Chief Restructuring Officer to reimburse Ivan Suarez the sum of $2,312.23 that Mr.

Suarez incurred between October 23, 2023, and October 23, 2024. In support thereof the Debtors

state as follows:

         1.       The United States Bankruptcy Court for the Southern District of Florida (the

“Court”) has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

         2.       Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.       On October 28, 2024, (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”).

The Chapter 11 Cases are being jointly administered under the above caption for procedural

purposes only.


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 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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       4.      No Committee has been appointed in these cases.

       5.      Prior to the Petition Date, Jonathan Feldman was appointed as the Debtors Chief

Restructuring Officer (“CRO”).

       6.      For a detailed description of the Debtors, the circumstances leading to the

commencement of these Chapter 11 Cases and information regarding the Debtors’ businesses

and capital structure, the Debtors respectfully refer the Court and parties in interest to the

Declaration of Jonathan Feldman in Support of Chapter 11 Petitions and First Day Pleadings

Filed by Debtor ShiftPixy, Inc.’s [ECF No. 16] (the “First Day Declaration”) which is

incorporated herein by reference.

       7.      On December 11, 2024, the Debtors filed a Motion to Convert these cases to cases

under Chapter 7 (the “Motion to Convert”) [ECF No 109]. The Court is set to consider the Motion

to Convert on December 16, 2024 at 9:30 a.m.

       8.      On October 30, 2024, the Debtors filed their Motion to pay prepetition salaries

and benefits to employees [ECF No. 20] (the “Employee Motion”). The Court granted the Motion

[ECF No. 39]. At the time of filing the Employee Motion the CRO did not have the itemized

schedule from Mr. Suarez regarding his expenses. The CRO has investigated these expenses and

determined that they relate to the Debtor and should be reimbursed. All of the items where needed

for maintenance, repairs or cleaning of the Debtors’ location in Miami-Dade.

       9.      Accordingly, the Debtors request that the Court modify its Order [ECF No. 39] to

permit the CRO to reimburse Mr. Suarez the sum of $2,312.23, for the purchases detailed here:




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       WHEREFORE the Debtors respectfully request that the Court enter an order modifying

its Order [ECF No. 39] to permit the CRO to reimburse Mr. Suarez the sum of $2,312.23 and for

any other relief that the Court deems just and appropriate.

Dated December 12, 2024.

                                              DGIM Law, PLLC
                                              Counsel for the Debtors
                                              2875 NE 191st Street, Suite 705
                                              Aventura, FL 33180
                                              Phone: (305) 763-8708


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                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
                                              Florida Bar No. 0060373
                                              Email: isaac@dgimlaw.com
                                              Monique D. Hayes, Esq.
                                              Florida Bar No. 843571
                                              Email: monique@dgimlaw.com



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Motion was served via CM/ECF Notification

and/or U.S. Mail to all parties on the attached service list on this 12 th day of December, 2024.



                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
                                              Florida Bar No. 0060373




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